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 1     Lee Gelernt*                                    Bardis Vakili (SBN 247783)
       Judy Rabinovitz*                                ACLU FOUNDATION OF SAN
 2     Anand Balakrishnan*                             DIEGO &
       Daniel Galindo (SBN 292854)                     IMPERIAL COUNTIES
       AMERICAN CIVIL LIBERTIES UNION                  P.O. Box 87131
 3     FOUNDATION                                      San Diego, CA 92138-7131
       IMMIGRANTS’ RIGHTS PROJECT                      T: (619) 398-4485
 4     125 Broad St., 18th Floor                       F: (619) 232-0036
       New York, NY 10004                              bvakili@aclusandiego.org
 5     T: (212) 549-2660
       F: (212) 549-2654                               Stephen B. Kang (SBN 292280)
       lgelernt@aclu.org                               Spencer E. Amdur (SBN 320069)
 6     jrabinovitz@aclu.org                            AMERICAN CIVIL LIBERTIES
       abalakrishnan@aclu.org                          UNION FOUNDATION
 7     dgalindo@aclu.org                               IMMIGRANTS’ RIGHTS PROJECT
                                                       39 Drumm Street
 8     Attorneys for Petitioners-Plaintiffs            San Francisco, CA 94111
       *Admitted Pro Hac Vice                          T: (415) 343-1198
 9                                                     F: (415) 395-0950
                                                       skang@aclu.org
                                                       samdur@aclu.org
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13                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF CALIFORNIA
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15     Ms. L., et al.,                                      Case No. 18-cv-00428-DMS-MDD

16                           Petitioners-Plaintiffs,
       v.
                                                            Date Filed: February 15, 2019
17     U.S. Immigration and Customs Enforcement
       (“ICE”), et al.
18                                                          PLAINTIFFS’ SUPPLEMENTAL
                                                            REPONSE RE: OIG REPORT
19                            Respondents-Defendants.

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 1              As directed by the Court, plaintiffs file this summary of concerns raised in the
 2     January 2019 OIG Report that the government did not address in its response (Dkt.
 3     347).1
 4              Plaintiffs’ primary unaddressed concern is with the 218 separations that

 5     reportedly took place after this Court’s injunction, through December 26, 2018. OIG
       Report (Dkt. 344-1) at 14, 21. OIG noted that these separations are happening at
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       “more than twice the rate that ORR observed in 2016.” Id. at 11. The Report analyzed
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       118 of these separations and found:
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                       69 percent of these separations were of children under 13 years old;
 9                       23 percent were of children under 5 years old;
10                     Some children were reported by ORR as separated on the basis of
11                       “immigration history only”; or because the adult lacked proof of legal

12                       guardianship; or with so little detail provided that OIG could not
                         determine the reason for separation and referred these cases to HHS
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                         for explanation;
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                       Because DHS is providing limited information to ORR about the
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                         reasons for separations, this “may impede ORR’s ability to determine
16                       the appropriate placement for a child.”
17     See id. at 11-12, n.22.
18              The government does not address the rate of post-June 26 separations or the

19     reasons for them, nor does it address whether separations for “immigration history
       only,” for example, comply with the Court’s injunction. See id. at 12 (noting the
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       “reason for separation is pertinent to Ms. L” because separations are enjoined with
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       limited exception); July 16, 2018, Hearing Transcript at 53:16-18 (“THE COURT:
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23     1
         The issue of thousands of additional children separated from their parents and
24     released from ORR care before June 26 is addressed in the pending Motion to Clarify
       Scope of the Ms. L Class (Dkt. 335).
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 1     Based on what I have been hearing, especially from Commander White today, that I
 2     would be making the assumption that 1325, 1326 collectively would not exclude.”).
 3           This concern is particularly salient in light of recent disclosures from the
 4     government’s counsel of purported criminal exclusions from Ms. L — one parent was

 5     reported as excluded on the basis of a littering conviction, another for a fake ID —
       which raise concerns that ongoing separations may not be in compliance with the
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       Court’s orders. Plaintiffs are also hearing from advocates that the government is
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       separating a substantial number of families, and thus there may be more than 218
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       post-June 26 separations. In light of the OIG Report and information from advocates
 9     on the ground, plaintiffs intend to raise with the Court the need to ensure that there are
10     (1) clear standards for future separations by DHS, and (2) a meaningful process to
11     ensure that families can contest separations.

12           Finally, as the Court is aware, in December the government reported 149
       additional separated children. Most were released from ORR care after the June 26
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       preliminary injunction and before the government certified a list of separated children
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       on July 11. The OIG Report found about 300 potentially separated children did not
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       appear in the July 11 list, and were released from ORR care in the same June 26-July
16     11 window. OIG Report at 9-10. The difference between about 300 and 149 additional
17     separated children is not addressed in the government’s response.
18           Plaintiffs will confer with the government about the above issues and update the

19     Court in future status reports.

20     Dated: February 15, 2019                     Respectfully Submitted,
21                                                  /s/Lee Gelernt
       Bardis Vakili (SBN 247783)                   Lee Gelernt*
22     ACLU FOUNDATION OF SAN DIEGO                 Judy Rabinovitz*
       & IMPERIAL COUNTIES                          Anand Balakrishnan*
23     P.O. Box 87131                               Daniel Galindo (SBN 292854)
       San Diego, CA 92138-7131                     AMERICAN CIVIL LIBERTIES
       T: (619) 398-4485                            UNION FOUNDATION
24     F: (619) 232-0036                            IMMIGRANTS’ RIGHTS PROJECT
25
                                                   2
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 1     bvakili@aclusandiego.org       125 Broad St., 18th Floor
                                      New York, NY 10004
 2     Stephen B. Kang (SBN 2922080)  T: (212) 549-2660
       Spencer E. Amdur (SBN 320069)  F: (212) 549-2654
       AMERICAN CIVIL LIBERTIES UNION lgelernt@aclu.org
 3     FOUNDATION                     jrabinovitz@aclu.org
       IMMIGRANTS’ RIGHTS PROJECT     abalakrishnan@aclu.org
 4     39 Drumm Street                dgalindo@aclu.org
       San Francisco, CA 94111
 5     T: (415) 343-1198              *Admitted Pro Hac Vice
       F: (415) 395-0950
       samdur@aclu.org
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 1                               CERTIFICATE OF SERVICE

 2           I hereby certify that on February 15, 2019, I electronically filed the foregoing
 3     with the Clerk for the United States District Court for the Southern District of
 4     California by using the appellate CM/ECF system. A true and correct copy of this brief

 5     has been served via the Court’s CM/ECF system on all counsel of record.

 6
                                                    /s/ Lee Gelernt
 7                                                  Lee Gelernt, Esq.
                                                    Dated: February 15, 2019
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